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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                                    )
                                          )       Chapter 11
EAT HERE BRANDS, LLC,                     )       Case No. 19-61688-wlh
                                          )       Judge Hagenau
              Debtor.                     )

                        APPEARANCE OF COUNSEL AND
                     REQUEST FOR COPIES OF ALL NOTICES,
                         DOCUMENTS AND PLEADINGS

       Please take notice that the Law Firm of Wiles & Wiles, LLP counsel for Salus 33

Peachtree Place, LLC hereby enters its appearance of counsel and requests that all notices

given or required to be given in this case, and all papers, pleadings and documents filed or

served or required to be filed in this case, be given to and served upon the following person

as attorney for Salus 33 Peachtree Place, LLC:

                                    Victor W. Newmark, Esq.
                                    Wiles & Wiles, LLP
                                    800 Kennesaw Avenue, Suite 400
                                    Marietta, Georgia 30060-7946
                                    bankruptcy@evict.net

       This request for notice encompasses, but is not limited to, all notices, copies,

documents and pleadings referred to, inter alia, in Rules 2002, 3017, or 9007 of the

Bankruptcy Rules and without limitation, notices of any orders, motions, demands,

complaints, petitions, pleadings, requests, applications, or any other document brought
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before this Court in any case, whether formal or informal, written or oral, or transmitted by

mail delivery, CM/ECF, telephone, telegraph, telex or otherwise which affect or seek to

affect the above case.

         This 24th          day of September, 2019.

                                               Respectfully submitted,

                                               /s/Victor W. Newmark
                                               Victor W. Newmark, Esq.
                                               Georgia Bar No. 541405

Of Counsel:

Wiles & Wiles, LLP
800 Kennesaw Avenue, Suite 400
Marietta, Georgia 30060-7946
(770) 426-4619
(770) 426-4846 – Facsimile
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                             CERTIFICATE OF SERVICE

        I hereby certify that on September 24, 2019, I electronically filed an Appearance of
Counsel and Request for Copies of all Notices, Documents and Pleadings with the Clerk of
Court using the CM/ECF system which will automatically send email notification of such
filing and which was also sent via email to the following:
    Michael F. Holbein, Esq.                        Robert M.D. Mercer, Esq.
    Sean C. Kulka, Esq.                             Attorney for Debtor
    Darryl S. Laddin, Esq.                          Schulten Ward Turner & Weiss, LLP
    Attorneys for Debtor                            260 Peachtree Street, N.W.
    Arnall Golden Gregory, LLP                      Suite 2700
    171 17th Street, NW, Suite 2100                 Atlanta, Georgia 30303
    Atlanta, Georgia 30363-1031

    U.S. Trustee                                    Lindsay P.S. Kolba, Esq.
    Office of the United States Trustee             Office of the United States Trustee
    362 Richard B. Russell Building                 362 Richard B. Russell Building
    75 Ted Turner Drive, SW                         75 Ted Turner Drive, SW
    Atlanta, Georgia 30303                          Atlanta, Georgia 30303

    Ewing, Scott                                    J. Hayden Kepner, Jr., Esq.
    Omni Management Group                           Scroggins & Williamson, P.C.
    Scott Ewing                                     One Riverside, Suite 450
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    Woodland Hills, California 91367                Atlanta, Georgia 30067
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 I hereby certify that I have mailed by United States Postal Service the document to the
following non-CM/ECF participants:
                                    Eat Here Brands, LLC
                                    Debtor
                                    9755 Dogwood Road, Suite 200
                                    Roswell, Georgia 30075


                                                 /s/Victor W. Newmark
                                                 Victor W. Newmark, Esq.
                                                 Georgia Bar No. 541405
 Of Counsel:

 Wiles & Wiles, LLP
 800 Kennesaw Avenue, Suite 400
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